
By the Court, Bronson, J.
The witness, without any previous knowledge on the subject, spoke from a comparison in court of the hand-writing to the letter and the note. He thought, on inspection, that the signature to both was the same. It must, I think, be regarded as a settled question in this state that such *183evidence is not admissible. (Jackson v. Phillips, 9 Cow. 94; Tilford v. Knott, 2 John. Cas. 211; Jackson v. Van Dusen, 5 John. R. 155.) A different rule prevails in some of the states. (See the cases collected in Cowen &amp; Hill’s Notes to Phill. Ev. 1326 to 1331.) But we have followed the English decisions.
Judgment reversed.
